                 Case 1:18-cr-00671-JLC Document 34 Filed 12/04/18 Page 1 of 2
                               UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF NEW YORK
                                      UNITED STATES COURTHOUSE
                                           500 PEARL STREET
                                    NEW YORK, NEW YORK 10007-1581
                                              (212) 805-6325




  CHAMBERS OF
COLLEEN McMAHON
   CHIEF JUDGE




                                                                     December 4, 2018


  The Hon. Dora Irizarry
  Chief Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn NY (ZIP)


  Dear Chief Judge Irizarry:

  Attached to this letter is an order from The Hon. James Cott, USMJ, transferring the
  misdemeanor case of United States v. Towaki Komatsu (18-cr-671) to the Eastern District of
  New York.

  Thank you for your willingness to accept this case.

  Sincerely,
    ,


  Colleen McMahon
  Chief Judge
             Case 1:18-cr-00671-JLC Document 34 Filed 12/04/18 Page 2 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
UNITED STATES OF AMERICA,
                                                                   ORDER
                  -against-
                                                                   18-CR-671 (JLC)
TOWAKI KOMATSU,

                          Defendant.
---------------------------------------------------------------X
JAMES L. COTT, United States Magistrate Judge.

        Having reviewed the entire record in this case, including defendant' s pending motion, the

Court has concluded that it is in the interest of justice for this case to be transferred to the Eastern

District of New York in accordance with Rule 21 of the Federal Rules of Criminal Procedure.

Accordingly, the Court hereby orders that this case be transferred to the Eastern District of New

York, and respectfully requests that the Clerk of Court transmit the docket in this case to the

Eastern District of New York. The pending motion will be decided by the newly assigned judge in

the Eastern District.

        SO ORDERED.

Dated: December 4, 2018
       New York, New York
